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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

MICHAEL THOMPSON                                                      CIVIL ACTION

VS.                                                                   NO. 3:20-CV-00364

LIFE INSURANCE COMPANY OF NORTH AMERICA


                                          COMPLAINT

     The Complaint of Michael Thompson respectfully alleges:

     1. This is a claim for ERISA long term disability benefits.

     2. This Court has jurisdiction and venue under 29 U.SC. Sec. 1001 et. Seq; 29 U.S.C. Sec.

        1132(e)(1)(2).

     3. Plaintiff, Michael Thompson, of lawful age and a resident of Vidalia, Louisiana, is a plan

        participant and beneficiary of an ERISA plan created by his employer, Transocean, Inc.

        and an insured participant of a group disability policy issued by Life Insurance Company

        of North America.

4.      Defendant, Life Insurance Company of North America (“LINA”), is a foreign

        corporation, doing business in Louisiana. Upon information and belief, LINA is

        incorporated in Pennsylvania, and its principal place of business is in the state of

        Pennsylvania.

     5. LINA issued a group policy insuring the employees of Transocean, Inc. Plaintiff is a

        beneficiary and insured under the policy.

     6. ERISA mandates that all plan administrators discharge their duties in the interest of plan

        participants and beneficiaries. 29 USC Sec. 1104(a)(1).




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7. Plaintiff filed a claim for disability benefits with the Plan because his medical condition

   precludes him from continuing to perform the duties of his job on a fulltime basis.

8. Plaintiff is disabled from performing his previous job as well as suitable alternative

   occupations.

9. Plaintiff is disabled under the terms of the disability policy issued by LINA.

10. Plaintiff has been determined to be disabled by the Social Security Administration and is

   receiving Social Security disability benefits.

11. LINA approved Plaintiff’s benefits and paid them for a period.

12. LINA unlawfully terminated Plaintiff benefits he is entitled to under terms of the disability

   policy.

13. Plaintiff appealed the denial by letter of December 10, 2019 submitting additional evidence

   demonstrating that he is disabled under policy terms, including a letter from his doctor

   supporting that he is unable to return to work, an FCE examination demonstrating that he

   lacked fulltime work capacity, vocational information demonstrating that the alternative

   jobs suggested by LINA were unsuitable, among other documents.

14. Under ERISA, LINA had 45 days in which to decide the appeal after it was submitted. 29

   C.F.R. § 2560.503-1. Under the regulations, LINA could have also requested a one-time

   45-day extension in which to decide the appeal. Thus, at most LINA had 90 days to render

   a decision.

15. LINA has failed to render a decision within 45 days as required by ERISA and therefore

   Plaintiff’s administrative remedies are deemed exhausted.

16. The standard of review in this matter is de novo.

17. LINA’s denial of this claim is not based on substantial evidence.



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18. Plaintiff has proved by a preponderance of the evidence that he is disabled under policy

   terms and entitled to ongoing disability benefits.

19. Plaintiff has exhausted his administrative remedies and now files this suit to reverse

   LINA’s denial of benefits.

20. LINA administered Plaintiff’s claim with an inherent and structural conflict of interest as

   LINA is liable to pay benefits from its own assets to Plaintiff, and each payment depletes

   LINA’s assets.

21. Plaintiff has been denied the benefits due to him under the Plan, has suffered, and is

   continuing to suffer economic loss as a result.

22. Plaintiff is entitled to an award of interest on all money that Defendants should have paid

   to Plaintiff.

23. Defendants’ denial has required Plaintiff to hire attorneys to represent him in this matter to

   recover benefits due to him under the Plan.

24. Plaintiff is entitled to an award of attorney fees due to LINA’s wrongful denial of his

   disability benefits.

25. The group policy in question was issued and delivered in Texas and, as such, Texas’s ban

   on discretionary clauses applies. Section 3.1203 of Title 28 of the Texas Administrative

   Code; Section 1701.062 of the Texas Insurance Code. Thus, the standard of review is de

   novo.


   WHEREFORE, Plaintiff prays for judgment against each Defendant as follows:

       1. For all benefits due Plaintiff in the past and future under the Plan, plus pre- and

           post-judgment interest;

       2. For all reasonable attorney fees;


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 3. For costs of suit; and

 4. For all other relief as the facts and law may provide.


                                          Respectfully submitted,


                                          /s/ Reagan Toledano
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